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|N THE UN|TED STATES D|STR|CT COURT

FOR THE NORTHERN D|STR|CT OF CAL|FORN|A

|N RE CATHODE RAY TUBE (CRT) ANT|TRUST l\/|DL No 1917
L|T|GAT|ON
|\/|aster Case No 3207-cv-05944SC

. _ RECOMMENDED ORDER
Thls Order Re|ates To. OF THE SpEC|AL MASTER

A|| Direct Action P|aintiff Actions, except for

those brought by De|| and CompuCom

 

 

 

 

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On Ju|y 28, 2014, Direct Action Plaintiffs Sharp E|ectronics Corporation and Sharp
E|ectronics |\/lanufacturing Company of America, |nc (”Sharp") on behalf of themselves and
most ofthe Direct Action P|aintiffsl, sought the undersigned's assistance in resolving a
discovery dispute with defendant Thomson, SA (“Thomson") concerning documents and
testimony purportedly withheld on the basis of a French statute and other grounds. Thomson
submitted its opposition on August 6 and, on August 12, Sharp submitted a reply to Thomson's
opposition. The undersigned did not conduct an oral hearing on the matter in the interest of
time and because a hearing did not appear likely to add new or different information or
arguments.

Sharp seeks an order compelling Thomson to produce a FRCP 30(b)(6) witness
and documentsz: (1) related to communications or meetings between Thomson and
competitors3; (2) related to the court's general or specific jurisdiction over Thomson“; (3)

related to the disposition of Thomson's CRT businessS; and (4) produced to the European

 

1 E|ectrograph Systems, |nc, E|ectrograph Techno|ogies Corp, Best Buy Co, |nc, Best Buy
Purchasing LLC, Best Buy Enterprise Services, |nc, Best Buy Stores, LP, Bestbuy.com, LLC, |\/|agno|ia Hi-Fi,
LLC, Shu|tze Agency Services, LLC, Alfred H Siege|, as trustee of the Circuit City Stores, inc Liquidating
Trust, Costco Wholesa|e Corporation, Target Corp, Office Depot, |nc, Tech Data Corporation, Tech Data
Product |\/|anagement, |nc, |nterbond Corporation of America, Sharp E|ectronics Corporation and Sharp
E|ectronics |\/|anufacturing Company of America, |nc. Direct Action P|aintiffs CompuCom Systems, |nc
and De|l, |nc and De|| Products, LP have not named Thomson as a defendant.

2 What follows is Sharp’s paraphrase of the discovery requests; the undersigned has not
independently reviewed the requests themselves for accuracy ofthe paraphrasing

3 Direct Action P|aintiffs' First Set of Requests for Production of Documents, Request Nos 3-5;
Notice of Deposition of Thomson SA pursuant to FRCP 30(b)(6), Nos l, 2, 5, 6, 9.

4 Request Nos 36-37, 46-60; Notice Nos 13, 14, 20, 21, 24, 25, 31.
5 Request Nos 33, 35; Notice Nos 34, 35.

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Commission for Competition.6 Sharp argues that: (1) requests calling for communications and
meetings with competitors are regularly held to be relevant to the issues in this litigation
concerning as it does alleged cartel behavior; (2) the requests regarding Thomson SA's
relationship with Thomson Consumer are relevant to jurisdictional issues, in particular the
extent to which Thomson SA controlled or acted through Thomson Consumer and conducted
conspiratorial activities in or related to the United States and has, therefore, met minimum
contacts standards required for general or specific jurisdiction; and (3) the French Blocking
Statute that Thomson has asserted precludes its production of documents in France presents
no obstacle to proceeding with this discovery. The French statute occupies the bulk of the
parties' attention.

|n opposition, Thomson makes essentially four arguments: (1) Sharp was late in
naming Thomson - in |V|arch 2013, five years after the litigation and discovery began - yet
Thomson Consumer has produced over 26,000 pages of documents regarding the Thomson
defendants' CRT operations, many of which were created by Thomson SA's employees in
France "including documents responsive to the very requests for documents that plaintiffs seek

to compel here,'” despite this, Sharp has failed to provide ”any explanation of why [this

 

6 Request No 42; Notice No 4. Sharp states that it ”seeks only those documents that Thomson
SA produced to the European Commission," a limitation evidently imposed due to the court's decision in
its |\/|arch 26 order. See |n re Cathode Rav Tube (CRT) Antitrust Litigation, 2014 WL 1247770 (N D Ca|
2014)

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production] was inadequate;"7 (2) the French Blocking Statute8 makes it a crime ”for any person
to request, seek or disclose, in writing or orally or otherwise, economic, commercial, industrial,
financial or technical documents or information leading to the constitution of evidence with a
view to foreign judicial or administrative proceedings or in connection therewith,"9 and in 2008
Thomson was advised that the provisions of the Blocking Statute are mandatory and limited
only by applicable international treaties or agreements; (3) compliance with Sharp’s requests
will subject Thomson SA and its Rule 30(b)(6) witness to criminal prosecution while the
requested materials have either been provided or are available through Hague Convention
procedures which is the appropriate means of securing Sharp’s proposed discovery and, finally,
(4) ordering the discovery of documents produced to the EC competition authorities would be
an end run around the court's l\/larch 26, 2014 decision denying the Direct Action Plaintiffs'
motion for the December 5, 2012 decision of the competition authorities ofthe European

Commission. ln re Cathode Rav Tube (CRT) Antitrust Litigation, 2014 WL 1247770 (N D Cal

 

2014).10
The so-called French Blocking Statute in which Thomson seeks refuge is a

peculiar enactment that if applied literally would thwart much of the normal process of

 

7 Osborn Ltr, Aug 6, 2014 at 3
8 Penal Code No 80-538, Art1A.

9 Osborn Ltr, supra, quoting Societe Nationale |ndustrielle Aerospatiale v U S District Court for
Southern Dist of |owa, 482 US 522, 526 n 6 (1987).

10 Thomson also argues that at least some of the discovery Sharp seeks calls for information
related to its non-CRT-related business expenses, budget and financial analysis. Osborn Ltr at 7. By
definition, the discovery at issue here relates to CRTs, not other products.

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discovery from French nationals and of evidence located in that country. Thomson's basis for
claiming that the statute would be enforced in the present situation is predicated on an episode
six years ago in an unrelated matter. Thomson presents nothing to show that the statute would
be invoked in the present case. While it is obvious that the courts ofthe United States must
respect the sovereign interests of foreign nations and ”exercise special vigilance to protect
foreign litigants from the danger that unnecessary, or unduly burdensome, discovery may place
them in a disadvantageous position," Societe Nationale |ndustrielle Aerospatiale v U S District Court
for Southern Dist of |owa, 482 US 522, 545 (1987), it is equally the case that the discovery processes
ofthe United States should not be thwarted by some obstructive edit of a foreign country. |bid.
Hence, the Supreme Court in Aerospatiale made short shrift of a similar attempt to invoke the
French Blocking Statute noting, as in this case, that the record in that case did not establish that
the petitioners had notified the appropriate French ministerial official of the present discovery
request or attempted to secure a waiver of prosecution from French authorities. 482 US at 582
n10. Furthermore, Aerospatiale disposes of another of Thomson's arguments: that Sharp must
resort to the Hague Convention in order to obtain the discovery it seeks here. The Supreme
Court made plain that the Hague Convention does not displace the processes of the Federal Rules when

it comes to obtaining discovery abroad:

An interpretation of the Hague Convention as the exclusive means for obtaining
evidence located abroad would effectively subject every American court hearing a case
involving a national of a contracting state to the internal laws of that state.
lnterrogatories and document requests are staples of international commercial
litigation, no less than of other suits, yet a rule of exclusivity would subordinate the
court's supervision of even the most routine of these pretrial proceedings to the actions
or, equally, to the inactions of foreign judicial authorities.

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482 US at 539.

That said, Sharp may be well advised to proceed simultaneously under the more cumbersome
processes ofthe Hague Convention. The undersigned understands that a motion for discovery
invoking that procedure is pending before the court which may wish to give that matter its
prompt attention.

Thomson's remaining arguments deserve only brief attention. The previous
production of 26,000 pages of documents by no means establishes substantial compliance with
Sharp’s discovery requests all of which appear to call for relevant evidence. This court's l\/larch
26 decision denying discovery of the EC's confidential decision provides little basis for denial of
the present discovery. The discovery sought here does not entail disclosure of confidential
information of an international entity and thus does not implicate the comity interests that the
court found persuasive. See ln re Cathode Ray Tube (CRT) Antitrust Litigation, 2014 WL
1247770 at *3-4 (N D Cal 2014). The l\/|arch 26 order did not expressly foreclose the discovery
of documents Thomson produced to the EC authorities. Thomson argues, however, that
producing such documents would be tantamount to invading the confidential processes of the
EC and an end run around the l\/larch 26 order. l\/lindful of the court's concern and instead of
ordering production to Sharp’s fourth category of requests, the undersigned recommends
denial of the fourth category of Sharp’s requests, but to forbid Thomson from withholding any
document that falls into the fourth category if the document is otherwise responsive to Sharp’s
first three categories of requests.

Finally, it may be that allowing Sharp to proceed with the discovery it seeks here

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will necessitate that this discovery be allowed to be taken after the present discovery deadline
has passed. That should not be an obstacle to granting Sharp’s motion for several reasons: (1)
Thomson's late entry into the case almost made inevitable that some post-deadline discovery
would have to be allowed; (2) diligent efforts and cooperation between the parties should allow
the discovery sought here to be completed in a matter of weeks, not months or years, so that
any additional time for taking this discovery should not unduly prolong the discovery period;
and (3) in the near future the court will be confronted with serious questions from the parties
about the scope, phasing and scheduling of the trial as well as, in all likelihood, motions under
FRCP 42(b) for separate proceedings; these matters will require serious attention and
consideration and allow the court factor in any unfinished discovery in addressing these issues.

Accordingly, lT |S REPORTED AND RECOMMENDED that to the extent the
following discovery relates to the products at issue herein Sharp’s motion to compel production
of documents and to produce one or more FRCP 30(b)(6) witnesses competent to testify on the
communications and meetings between Thomson SA and its competitors , Thomson SA's
control or actions though Thomson Consumer and the disposition of Thomson SA's CRT
business be GRANTED;

lT lS FURTHER REPORTED AND RECOMMENDED that production to the fourth
category of Sharp’s requests be DEN|ED but that notwithstanding that a document was
produced to the EC competition authorities it must be produced if it is otherwise responsive to

Sharp’s requests;

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lT lS FURTHER REPORTED AND RECOMMENDED that the parties be directed to
confer and, to the extent possible, work out a schedule for the prompt completion of the
foregoing discovery, so as not unduly to prolong the taking of discovery herein and that any
disputes with respect to the scheduling of the discovery ordered hereby and the specific
discovery requests at issue here be brought to the undersigned's attention.

lT lS SO ORDERED.

This 2f1 clay of September 2014

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Vz;l;ghn R Walker
United States District Judge (Ret)

The Recommended Order of the Special l\/laster is Accepted and Ordered/

Denied / l\/lodified.

Dated: September _, 2014

 

Hon Samuel Conti
United States District Judge

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